Case 1:07-cr-20526-TLL-PTM ECF No. 174, PageID.689 Filed 03/02/15 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 07-cr-20526

v                                                           Honorable Thomas L. Ludington

JOHN TYLER MCKINNEY, JR.,

                  Defendant.
__________________________________________/

                         ORDER DENYING RULE 60(b) MOTION

       Petitioner John Tyler McKinney, Jr., currently confined at FCI McKean, pleaded guilty to

distribution of 5 grams or more of a substance containing cocaine base, 21 U.S.C. § 841(a)(1).

He was sentenced to 120 months’ imprisonment on September 10, 2009, and the Sixth Circuit

affirmed his conviction on March 22, 2010. More than twenty-one months later, McKinney filed

his motion to vacate his sentence under 28 U.S.C. § 2255.

       The Magistrate Judge issued a report on June 28, 2012, sua sponte concluding that

McKinney’s motion to vacate was untimely. Rep. & Rec., ECF No. 132. McKinney objected,

asserting that AEDPA’s statute of limitations is an affirmative defense that cannot be raised sua

sponte by the court. On October 28, 2014, this Court overruled McKinney’s objections and

denied his motion to vacate as untimely.

       On February 9, 2015, McKinney filed a motion to vacate the October 28, 2014 Judgment.

McKinney focuses only on one issue: whether a court may sua sponte raise AEDPA’s statute of

limitations to bar a habeas petition pursuant to 28 U.S.C. § 2255. In its October 28, 2014 Order,

the Court noted that the Supreme Court has held that the statute of limitations could be raised sua

sponte, and that doing so in the instant matter barred McKinney’s untimely motion to vacate.
Case 1:07-cr-20526-TLL-PTM ECF No. 174, PageID.690 Filed 03/02/15 Page 2 of 3




Order 4, ECF No. 163 (quoting Wood v. Milyard, 132 S. Ct. 1826, 1830 (2012) (Supreme Court

precedent “establishes that a court may consider a statute of limitations or other threshold bar the

state failed to raise in answering a habeas petition.”)). The Court therefore denied McKinney’s

motion to vacate as untimely.

         McKinney claims that the October 28, 2014 Order and Judgment should be vacated

pursuant to Rule 60(b). Rule 60(b) allows the Court to relieve a party from a final judgment or

order for several reasons, including “(1) mistake, inadvertence, surprise, or excusable neglect; (2)

newly discovered evidence . . .; (3) fraud . . ., misrepresentation, or misconduct by an opposing

party; (4) the judgment is void; [and] (5) the judgment has been satisfied, released or discharged;

it is based on an earlier judgment that has been reversed or vacated; or applying it prospectively

is no longer equitable.” Fed. R. Civ. P. 60(b). In addition, subsection (b)(6) grants relief if there

are “exceptional and extraordinary circumstances.” Fuller v. Quire, 916 F.2d 358, 360 (6th Cir.

1990).

         Because McKinney is claiming that this Court’s Order erred in sua sponte raising

AEDPA’s statute of limitations, McKinney appears to be relying on Rule 60(b)(1).1 The Sixth

Circuit has “recognized a claim of legal error as subsumed in the category of mistake under Rule

60(b)(1).” Pierce v. United Mine Workers Welfare & Ret. Fund for 1950 & 1974, 770 F.2d 449,

451 (6th Cir. 1985). When applied under subsection (1), the word “mistake” has been held to

include “any type of mistake or error on the part of the court,” including a legal mistake. Barrier

v. Beaver, 712 F.2d 231, 234 (6th Cir. 1983) (citing Oliver v. Home Indem. Co., 470 F.2d 329

(5th Cir. 1972)). Nonetheless, a motion based on Rule 60(b)(1) is “intended to provide relief to a


1
  The subtitle of McKinney’s motion, “Newly Discovered Evidence,” suggests that he is attempting to proceed
under Rule 60(b)(2). However, McKinney does not identify the newly discovered evidence, except to claim that it
was discovered in 2011—three years before October 28, 2014 Order issued. Thus, no evidence has been “newly
discovered” between the October 28, 2014 Order and McKinney’s motion, and subsection (b)(2) is unavailing.

                                                     -2-
Case 1:07-cr-20526-TLL-PTM ECF No. 174, PageID.691 Filed 03/02/15 Page 3 of 3




party in only two instances: (1) when the party has made an excusable litigation mistake or an

attorney in the litigation has acted without authority; or (2) when the judge has made a

substantive mistake of law or fact in the final judgment or order.” Cacevic v. City of Hazel Park,

226 F.3d 483, 490 (6th Cir. 2000) (internal quotation marks omitted).

       Importantly, however, a party may not use Rule 60(b) “as an occasion to relitigate its

case.” Abby v. Prelesnik, 2015 WL 348566, at *2 (E.D. Mich. Jan. 23, 2015) (quoting General

Universal Systems, Inc. v. Lee, 379 F.3d 131, 157 (5th Cir. 2004). A decision to grant or deny a

Rule 60(b) motion “is a matter of discretion for the district court.” Bank of Montreal v. Olafsson,

648 F.2d 1078, 1079 (6th Cir. 1981).

       McKinney is attempting to relitigate an argument he previously presented in his motion

to vacate. He has not identified any mistake made by this Court; instead, he merely reasserts his

disagreement with the Court’s conclusion that AEDPA’s statute of limitaitons may be raised sua

sponte. This attempt to re-litigate an argument previously addressed by the Court is unavailing

on a motion pursuant to Rule 60(b).

       Accordingly, it is ORDERED that Petitioner John McKinney, Jr.’s Motion for Rule

60(b) (ECF No. 172) is DENIED.

Dated: March 2, 2015                                              s/Thomas L. Ludington
                                                                  THOMAS L. LUDINGTON
                                                                  United States District Judge

                                                 PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail and on John Tyler McKinney, Jr., #41867-039, FCI
                        McKean, Inmate Mail/Parcels, P.O. Box 8000, Bradford, PA 16701 by
                        first class U.S. mail on March 2, 2015.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




                                                         -3-
